   Case: 1:20-cv-04985 Document #: 324 Filed: 08/05/24 Page 1 of 1 PageID #:3951




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ZHU ZHAI HOLDINGS LIMITED and                  )
PETER PUI TAK LEE,                             )
                                               ) Case No. 20-cv-04985
       Plaintiffs/Judgement Creditors,         )
                                               ) Judge Sharon Johnson Coleman
       v.                                      )
                                               ) Hon Sidney I. Schenkier (Ret.),
STEVEN IVANKOVICH,                             )   Special Master
                                               )
       Defendant/Judgement Debtor.             )

                             SPECIAL MASTER’S ORDER NO. 9

         In Special Master’s Order No. 8, dated July 29, 2024, the Special Master ordered that by
August 2, 2024, plaintiffs were to file a document stating their position as whether Ex. 1 to the
Third Party LLCs July 24, 2024, submission is a complete “list of the EIN numbers they seek, and
if they claim the list is incomplete, stating with specificity what they claim is missing and the basis
for that claim – and whether any of the missing information is in the possession of counsel for
Intervenor Jeanette Ivankovich.” On August 2, 2024, plaintiffs filed a letter stating that they only
had received 9 EIN numbers, providing a list of entities for which they had no EIN numbers, and
stating that Ms. Ivankovich does have those EIN numbers.

        The Special Master disagrees that the Ex. 1 list contains only 9 EIN numbers. However,
the Special Master agrees that the Ex. 1 list does not contain any EIN numbers for the nearly 70
entities identified in Plaintiffs’ letter. The Special Master orders that by August 9, 2024, the Third
Party LLCs and Defendant provide the EIN numbers for the entities listed in Plaintiffs’ August 2,
2024, letter or provide compelling reason why they should not be required to do so – keeping in
mind the Special Master’s Order No. 1, dated March 19, 2024, required defendant and the Third
Party LLCs to provide information sufficient to serve subpoenas on all entities for which defendant
“had the ability to transfer funds.”

Entered:



___________________________________
HON. SIDNEY I. SCHENKIER (RET.)
Special Master
August 5, 2024
